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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

    UNITED STATES OF AMERICA                           §
                                                       §
                                                       §            CASE NO. 6:12-CR-59-JDK
    vs.                                                §
                                                       §
                                                       §
    LATTORIS DEWAUN JACKSON (11)                       §

                            REPORT AND RECOMMENDATION
                        ON REVOCATION OF SUPERVISED RELEASE

          On May 5, 2020, the Court held a final revocation hearing on a Petition for Warrant or

  Summons for Offender under Supervision. The hearing was conduct via video teleconference with

  the consent of the parties. The Government was represented by Assistant United States Attorney

  Mary Ann Cozby. Defendant was represented by Ken Hawk.

                                             Background

          After pleading guilty to the offense of Felon in Possession of a Firearm, a Class C felony,

  Defendant Lattoris Dewaun Jackson was sentenced on January 22, 2014 by United States District

  Judge Michael H. Schneider. The offense carried a statutory maximum imprisonment term of 10

  years. The guideline imprisonment range, based on a total offense level of 22 and a criminal

  history category of V, was 77 to 96 months.              Defendant was sentenced to 96 months of

  imprisonment followed by a 3-year term of supervised release. Defendant’s supervision is subject

  to the standard conditions of release, plus special conditions to include financial disclosure and

  participation in testing and treatment for drug abuse.

          The case was re-assigned to United States District Judge Jeremy D. Kernodle, on February

  5, 2019. Defendant completed his term of imprisonment and started his term of supervised release

  on July 19, 2019.

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                                                    Allegations

          In the Petition seeking to revoke Defendant’s supervised release, filed on March 23, 2020,

  United States Probation Officer Glenn Filla alleges that Defendant violated the following condition

  of supervised release:

             1. Allegation 1 (standard condition 7): The defendant shall refrain from excessive
                use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances,
                except as prescribed by a physician. It is alleged that Defendant admitted to
                marijuana use on or about September 28, 2019, December 25, 2019, February 26, 2020
                and March 1, 2020.

                                                  Applicable Law

          According to 18 U.S.C. § 3583(e)(3), the Court may revoke the term of supervised release

  and require a Defendant to serve in prison all or part of the term of supervised release without

  credit for the time previously served under supervision, if it finds by a preponderance of the

  evidence that Defendant violated a term of supervised release. Supervised release shall be revoked

  upon a finding of a Grade A or B supervised release violation. U.S.S.G. § 7B1.3(a)(1). In the

  present case, Defendant’s original offense of conviction was a Class C felony. Accordingly, the

  maximum imprisonment sentence that may be imposed is 2 years of imprisonment. 18 U.S.C. §

  3583(e).

          Under the Sentencing Guidelines, which are non-binding, 1 if the Court finds by a

  preponderance of the evidence that Defendant violated his conditions of supervised release by

  using marijuana as alleged in the petition, he is guilty of a Grade C violation. U.S.S.G. § 7B1.1(a).




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   The United States Sentencing Guidelines as applied to revocations of supervised release “have always been non-
  binding, advisory guides to district courts in supervised release revocation proceedings.” United States v. Brown,
  122 Fed.Appx. 648, 2005 WL 518704, slip op. p.1 (citing United States v. Davis, 53 F.3d 638, 642 (5th Cir. 1995));
  see also United States v. Mathena, 23 F.3d 87 (5th Cir. 1994) (policy statements contained in Chapter 7 of the
  Sentencing Guidelines applicable to sentencing a defendant upon revocation of supervised release are advisory
  only.).

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  Defendant’s original criminal history was V. The guidelines provide that Defendant’s guideline

  range for a Grade C violation is 7 to 13 months of imprisonment.

                                                Hearing

         On May 5, 2020, Defendant appeared for a final revocation hearing. Assistant United

  States Attorney Mary Ann Cozby announced that Defendant and the Government reached an

  agreement for Defendant to enter a plea of true to Allegation 1 in the petition and to jointly request

  a sentence of 13 months of imprisonment with no further supervised release. After the Court

  explained to Defendant his right to a revocation hearing, he waived his right to a revocation hearing

  and entered a plea of “true” to Allegation 1 of the petition. Defendant requested a recommendation

  to the Bureau of Prisons to confine him at FCI Texarkana.

                                      Findings and Conclusions

         I find that Defendant is competent and that his plea and waiver of the revocation hearing

  was knowingly and voluntarily made. I accept Defendant’s plea and find by a preponderance of

  the evidence that Allegation 1 in the petition is true. Defendant is guilty of a Grade C supervised

  release violation. I further find and conclude that Defendant’s term of supervised release should

  be revoked and that he should be sentenced to 13 months of imprisonment with no supervised

  release to follow. Any criminal history monetary penalties previously ordered in the final judgment

  should be imposed in this revocation, with all payments collected credited towards outstanding

  balances.

                                       RECOMMENDATION

         In light of the foregoing, it is recommended that Defendant’s plea of true to Allegation 1

  of the petition be ACCEPTED and that Defendant’s term of supervised release be REVOKED.

  It is further recommended that Defendant be sentenced to 13 months of imprisonment with no



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  further supervised release. Any criminal monetary penalties previously ordered in the final

  judgment should be imposed in this revocation, with all payments collected credited towards

  outstanding balances. It is finally recommended that the Court request the Bureau of Prisons to

  designate Defendant to FCI Texarkana.

         Before the conclusion of the hearing, the undersigned announced the foregoing

  recommendation and notified Defendant of his right to object to this Report and Recommendation

  and to be present and allocute before being sentenced by the Court. Defendant waived those rights

  and executed a written waiver in open court. The Government also waived its right to object to

  the Report and Recommendation. It is therefore recommended that the Court revoke Defendant’s

  supervised release and enter a Judgment and Commitment for him to be sentenced to 13 months

  of imprisonment with no further supervised release.



            So ORDERED and SIGNED this 5th day of May, 2020.




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